                      Case 3:19-mj-70373-JCS Document 29 Filed 03/12/19 Page 1 of 1
AO467 (Rev. 01/09; CANDversion 03/19)OrderRequiring a Defendant to Appearin the District Where Charges are Pending andTransferring Bail




                                              UNITED STATES DISTRICT COURT

                                          NORTHERN DISTRICT OF CALIFORNIA                                                    ^22019
                                                                                                                Ctrft'f'''' y"-1
          United States of America                                          Case No. 19-mi-70373-JCS-8

                      V.                                                     Charging District: Massachusetts

          WILLIAM E. MCGLASHAN, JR,                                          Charging District's Case No.: 19-MJ-
                                                                            6087-MPK
                              Defendants.




            ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT WHERE
                              CHARGES ARE PENDING AND TRANSFERRING BAIL



                   After a hearing in this court, the defendant is released from custody and ordered to appear
       in the district court where the charges are pending to answer those charges. The time and place
       to appear in that court are as follows:

         Place: John Joseph Moakley U.S.
                                                                      Courtroom No.: 24,7th Floor
         Courthouse
         1 Courthouse Way                                             Date and Time: March 29, 2019 at 3:00 PM
         Boston, MA 02210

                   If the date or time to appear in that court has not yet been set, the defendant must appear
       when notified to do so.


                   The clerk is ordered to transfer any bail deposited and interest earned thereon in the
       registry of this court, plus earned interest, to the clerk of the court where the charges^are pending.


       Dated: March 12, 2019


                                                                        Joseph C. Spero
                                                                        Chief Magistrate Judge




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       ivv. 3-19
